                Case 21-10391-TPA                      Doc 11         Filed 07/23/21 Entered 07/23/21 12:33:53          Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Nathaniel James Stanger                                                       CHAPTER 13
                                              Debtor(s)
                                                                                                   BKY. NO. 21-10391 TPA


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                          Kindly enter my appearance on behalf of PENNYMAC LOAN SERVICES and index
                    same on the master mailing list.



                                                                  Respectfully submitted,


                                                                  /s/ ${s:1:y:_________________________}
                                                                      Maria Miksich
                                                                      22 Jul 2021, 14:19:24, EDT

                                                                  Brian C. Nicholas, Esq. (317240) ${c:1:n:bcn:att-y}
                                                                  Maria D. Miksich, Esq. (319383) ${c:1:n:mdm:att-y}
                                                                  Rebecca A. Solarz, Esq. (315936) ${c:1:n:ras:att-y}
                                                                  KML Law Group, P.C.
                                                                  BNY Mellon Independence Center
                                                                  701 Market Street, Suite 5000
                                                                  Philadelphia, PA 19106
                                                                  412-430-3594
                                                                  bkgroup@kmllawgroup.com




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